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 6
                            IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
       ALBERTO RIVERA MONROY and IRMA                          Case No: 2:21-cv-00813-BJR
 9     PARRA-RIVERA, husband and wife,

10      Plaintiff,                                             DECLARATION OF PLAINTIFFS IN
                                                               OPPOSITION TO MOTION FOR
11      vs.                                                    SUMMARY JUDGMENT

12     REAL TIME RESOLUTIONS, INC.,
       MORTGAGE ELECTRONIC
13     REGISTRATION SYSTEMS INC, and MTC
       FINANCIAL INC., d/b/a TRUSTEE CORPS,
14
        Defendants.
15

16            1.     My name is Alberto Rivera Monroy. I am also known as Eduardo Rivera Monroy.

17            2.     My name is Irma Parra-Rivera.

18            3.     We are over the age of 18, competent to testify in this matter, and the Plaintiffs in

19   this matter.

20            4.     We are the parents of three daughters: Yuriana, 33-years old; Nayelli, 31-years

21   old; and Melany, 19-years old. We also have two grandchildren for whom we provide daycare

22   during the work week.

23            5.     We speak Spanish as our primary language. We speak some English and it is
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 1   getting better all the time.

 2           6.      We own a small commercial cleaning business and we have been self-employed

 3   in this line of work for nearly twenty years. We primarily clean the offices of our clients during

 4   the evening and early morning hours.

 5           7.      When we bought our home in March of 2007, we bought it with two mortgages.

 6   We understand that this is known as an 80/20 loan, as 80% of the loan is for the first mortgage

 7   and 20% is for the second mortgage. The second mortgage, which is the loan in dispute, was

 8   initially granted and serviced by Liberty Financial Group. We have a statement from Liberty

 9   Financial Group for April of 2007.

10           8.      Almost immediately, the second mortgage was transferred to Aurora Loan

11   Services in April of 2007. Our first mortgage was also transferred to Aurora Loan Services

12   around this time. In early April 2007, we received a notice about this change directing us to send

13   payments for the second mortgage to Aurora beginning May 1, 2007.

14           9.      In 2007, we paid $180.48 in principal and $6,492.56 in interest on the second

15   mortgage serviced by Aurora. In 2008, we paid $299.77 in principal and $9,709.79 in interest on

16   the second mortgage serviced by Aurora. In 2009, we paid $108.32 in principal and $3,228.20 in

17   interest on the second loan. Exhibit A.

18           10.     In 2008, during the economic crisis, we began experiencing financial challenges

19   because our clients had less business. We started paying late on our mortgages in late 2008.

20   When we called the loan servicer to discuss options for making our second mortgage more

21   affordable, especially in light of the high 12.250% interest rate on the loan, we were instructed to

22   stop paying to enable us to apply for relief. We believe we spoke with them in early 2009. Based

23   on what the loan servicer told us, we stopped paying with the June 2009 payment. We were
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 1   confused by these directions from Aurora because it did not seem right to tell us to stop paying,

 2   but we needed relief and stopped paying as they instructed us to do.

 3          11.     Most of the communications we received from Aurora were in English. We

 4   received some notices that had some Spanish language notices stating that we could ask to speak

 5   with someone in Spanish, but it was difficult to reach someone who spoke Spanish when we

 6   called the loan servicer.

 7          12.     Our records indicate that we received a letter in December of 2009 from a

 8   company called Real Time Resolutions, Inc. indicating they now serviced our second mortgage.

 9   In January of 2010, we received a notice from Real Time Resolutions confirming that we had

10   stopped paying before they took over the servicing of our loan because the notice indicated we

11   owed $8,341.30 in overdue payments from May 1, 2009 through the date of the letter. The letter

12   indicated we did not owe any late or non-sufficient funds fees.

13          13.      El Centro De La Raza helped us apply for a loan modification with our primary

14   mortgage. In February of 2010, we reached a loan modification with our primary mortgage and

15   we reinstated the loan.

16          14.     Around April of 2010, we started working with El Center De La Raza’s

17   Homeownership Center. El Centro De La Raza began working with Aurora Loan Services to

18   help us resolve our second mortgage. We sent in an application and financial records and we

19   were told we had to make payments to modify the loan. We tendered five payments to Real Time

20   Resolutions, Inc. in the amount of $417.07 on September 8, 2010, October 8, 2010, November 5,

21   2010, December 5, 2010, and January 10, 2011. Even though we sent these payments, we were

22   concerned that Real Time Resolutions did not own the loan because we received some

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 1   documents indicating that Aurora owned the loan.

 2          15.     Our notes indicate that someone named Alfredo Jacobo called us from the

 3   servicer of our second mortgage on November 23, 2010, but we are not sure which company he

 4   worked for. Alfredo said we made our payments on time. We also got some sort of notice in

 5   January 2011 about a loan modification, but the letter was in English. We kept making payments

 6   after the three-month trial period, on December 5, 2010, and January 10, 2011. We remember

 7   telling someone at Real Time we were willing to keep paying $417.07 per month, but nothing

 8   was ever finalized. We do not remember ever refusing a loan modification.

 9          16.     In December of 2011, El Centro De La Raza sent us a letter closing our case file

10   because our housing problems had been resolved. Exhibit B. When we were working with El

11   Centro De La Raza, their home ownership counselors told us that many second mortgages were

12   being cancelled. We believed El Centro closed our file because the second mortgage was

13   eliminated.

14          17.     We received some letters from Real Time Resolutions in 2012 and 2013 talking

15   about settling the loan and we were confused because one of the letters received was written in

16   Spanish and talked about an error and told us to ignore the other letter.

17          18.     We never trusted Real Time Resolutions had any power over us because, as late

18   as April 2020, our homeowners insurance never listed Real Time Resolutions on our policy.

19   Exhibit C.

20          19.     Throughout 2009 through 2015, we never received any documents from Real

21   Time Resolutions, Inc. starting a foreclosure against us.

22          20.     On or about May 2, 2015, we hired Vicente Omar Barraza of Barraza Law, PLLC

23   to prepare a quit claim deed related to our home. While preparing the quit claim deed with the
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 1   help of our lawyer, we reviewed the King County Recorder index maintained by King County

 2   and we learned the second mortgage no longer existed as of June 3, 2009.

 3           21.    The attorney showed us the computer screen showing the King County Recorder

 4   index showing that the second mortgage was gone.

 5           22.    We were relieved the second mortgage was gone because Alberto was

 6   experiencing health problems in 2015. His health problems, including diabetes and high blood

 7   pressure scared us, so we decided to transfer the house to Irma’s name because we were afraid

 8   Alberto might die. Learning that the second mortgage was gone made the decision to make the

 9   inter-family title transfer easier because we did not have to worry about the second mortgage

10   anymore.

11           23.    We relied on the homeowners insurance policy which did not name Real Time

12   Resolutions and the recorded documents eliminating our second mortgage to believe that Real

13   Time Resolutions did not have the authority to take our home from us. Now, Real Time

14   Resolutions says we owe $204,069.13 even though we only borrowed $79,600. We are unsure

15   why they started including interest and fees when the prior servicer, Aurora, did not include such

16   fees.

17           24.    In early March of 2020, we received a letter from Trustee Corps saying we owed

18   $187,518.16 to Real Time Resolutions, Inc. We had never heard of Trustee Corps. before and did

19   not believe they had any authority to take our home away from us.

20           25.    On March 8, 2020, we received a letter from RTR in Spanish that talked about

21   bankruptcy and said we owed $186,823.25. The letter stated we owed $78,389.94 on the original

22   loan of $79,600 plus accumulated interest in excess of $100,000 other charges in the amount of

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 1   $95.00, and late charges in excess of $4,000.

 2          26.     On May 28, 2020, we received correspondence from Real Time Resolutions, Inc.

 3   On or about June 9, 2020, we consulted with Vicente Omar Barraza of Barraza Law, PLLC who

 4   helped us prepare the letter we sent to Real Time Resolutions, Inc. informing them about the

 5   records of the Recorder of King County, Washington and confirming that Real Time

 6   Resolutions, Inc. had re-conveyed the deed of trust on June 3, 2009. We spent money to send the

 7   letter certified mail and consult with Mr. Barraza. We paid $13.90 in postage costs to send the

 8   letter and a $150.00 consultation fee to Mr. Barraza.

 9          27.     On or about June 11, 2020, Mr. Barraza received a title report from WFG

10   National Title Company confirming our second mortgage no longer existed.

11          28.     We received a letter dated June 22, 2020 from Real Time Resolutions Inc. The

12   letter was in English, but our lawyer, who speaks Spanish, interpreted the letter and we

13   understood that Real Time Resolutions did not know what was going on with this mortgage and

14   reinforced our belief that the mortgage was gone.

15          29.     We are unsure whatever happened to the five payments we tendered totaling

16   $2,085.35 because we received many letters from Real Time Resolutions, Trustee Corps and

17   MTC Financial saying we owed our second mortgage from June 1, 2009 to the present.

18          30.     In the Spring of 2020, Alberto learned he had cancer after he underwent surgery

19   for a hiatal hernia. It was during this period that Real Time Resolutions decided to take our

20   home away from us. The loss of our home while we were trying to save Alberto’s life was

21   emotionally overwhelming for us.

22          31.     We were greatly humiliated when our 12-year-old grandson X----- Becerril

23   Rivera read the notice of default or notice of foreclosure to us when it arrived. He was scared
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 1   and asking questions about whether we were going to be homeless. This was an emotionally

 2   traumatic event for us.

 3          32.     The foreclosure left us feeling sick to our stomachs and with diminished

 4   appetites. We frequently wake up during the night, we toss and turn, we never feel rested. We

 5   are suffering from depression.

 6          33.     Right after our house was posted with the default notices, we were literally

 7   physically sick with worry. After the house was posted, we went to clean one of the businesses

 8   and the client asked us: “How are you? You look sick. Is there something I can do to help you?”

 9   We were too ashamed to tell him what is going on.

10          34.     Our daughter Yuriana Rivera suffers from high blood pressure, and we believe it

11   is caused in part by her assistance to interpret/translate the foreclosure documents we received.

12   We feel guilty that our problems are affecting the health of our children and grandchildren. The

13   trauma suffered by our family causes us anxiety because we are restraining our emotions with

14   our family because we do not want them to panic. Holding the pain and fear we feel inside to

15   protect our family is causing us anxiety and upset.

16          35.     Our 19-year-old daughter Melany was accepted to attend the University of New

17   Mexico because her dream is to be a pediatrician. She attended Green River Community College

18   Running Start program to accelerate her educational goals and the University of New Mexico

19   offered her a scholarship. We were devastated when Melany decided to forego attending the

20   University of New Mexico because we are facing the loss of our home because of Real Time

21   Resolution Inc.’s continuous negligence.

22          36.     Melany is suffering from depression because of the foreclosure. Her depression

23   began in 2020 when we received the notice of pre-foreclosure options on May 28, 2020. We are
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 1   completely ashamed and physically sick because we feel like our problems are causing her

 2   depression and taking away her dreams. Melany is seeing a therapist to address her depression.

 3          37.     Beginning in late July 2021, around the time Real Time Resolutions started the

 4   foreclosure, we received many, many letters from lawyers and real estate people offering to put

 5   us in bankruptcy, buy our house, or help us sell our house. During this time, strangers were

 6   driving by our house and standing on the sidewalk looking at our house. These communications

 7   and visits from strangers scared us and left us feeling depressed and violated. Exhibit D.

 8          38.     As a result of the foreclosure that Real Time Resolutions started, we are deferring

 9   maintenance and repairs on our home. Deferred maintenance could get us in trouble with the

10   Homeowners Association and reduces the value of our property. We cannot invest in our house

11   because we are saving what we can to rent a new apartment if Real Time Resolutions succeeds

12   in making us homeless. We intended to make repairs to the roof, paint, and fix the fence. We

13   have a wood porch that needs to be fixed. But we are refraining from making these needed

14   repairs because Real Time Resolutions is foreclosing on us and we need to prepare to start over.

15          39.     We also spent money on mileage because of the wrongful foreclosure.

16          40.     We feel that Real Time Resolutions Inc. acted incompetently, negligently, and

17   abusively. Real Time bungled our mortgage so badly we now owe almost as much on the second

18   mortgage as we do on the first mortgage. We owe approximately $240,000 on our first mortgage

19   that is serviced by Shellpoint. Real Time Resolutions Inc. claims we owe them more than

20   $204,000. We believe that they purposefully delayed acting to increase the size of the debt.

21          41.     We recently received a privacy act notice from Real Time Resolutions, Inc. even

22   though they know we are represented.

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